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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE
_________________________________________
                                                                     )
        MARK ANDERSON,                                               )
                                                                     )
                         Plaintiff,                                  )
               v.                                                    ) Civil Action No.1:19-cv-00109-SM
                                         )
TRUSTEES OF DARTMOUTH COLLEGE,           )
                                         )
              Defendant,                 )
_________________________________________)

                      PLAINTIFF’S MISCELLANEOUS MOTION


        It has come to the plaintiff’s attention that depositions are almost universally performed in the

presence of court reporters. As mentioned in previous motion, plaintiff has virtually no excess money, and

struggles to pay basic living expenses. He also contacted local court reporting agencies and been told it

would likely cost him in excess of $1,500. For this reason, plaintiff files this motion to ask if the court

might appoint a court reporter to document a single telephonic deposition on October 28th, 11:00 am EST,

or at another time the deposition could be rescheduled for which would be more convenient for the court

(for all other depositions that are scheduled in the near future but this one, Defense counsel is providing a

court reporter). Plaintiff files this motion having seen pro se plaintiff’s file similar motions in different

jurisdictions, but is unsure what the local rules and precedents are regarding this issue, the necessity of a

court reporter, and how not having one might affect the litigation process, and has found this topic

particularly difficult to grasp using publicly available information. If not having a court reporter present

won’t influence the litigation process and a simple audio recording of the deposition would serve the

same purpose, plaintiff asks that this motion be withdrawn


This motion was assented to by counsel for the defense on 10/2/2019.
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                                    Respectfully submitted,

Dated: October 2nd, 2019            Mark Anderson


                                   /s/Mark Anderson

                                   Mark Anderson
                                                              JD2018265@Gmail.com
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                                CERTIFICATE OF SERVICE


I hereby certify that a copy of the following document was sent electronically to Jennifer

Laurence of Dartmouth’s General Counsel, at the following address provided by the defendant,

on 10/1/2019; jlaurence@wadleighlaw.com.




Date:____10/2/2019____                                                    Mark Anderson



                                         Signature:____ _                             __________
